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                                       EXHIBIT D




DOCS_DE:238974.2 05233/003
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                                                      Filing Results

                                                                                             Date:        08/23/2016
LINDA PAULSELL                                                                               Order #:     55311405
ART VAN FURNITURE, INC.                                                                      Customer #: 34460
6500 E 14 Mile Rd                                                                            Reference 1: 34460
Warren, MI 48092-1295                                                                        Reference 2: --


Target Name: Simpson              Furniture Company


Jurisdiction: Secretary           of State, Iowa


         Filing Type:     UCC Financing Statement                                                   Searched Through: --
         Results:          See attached filing acknowledgement
Document Listing:

File #                                             File Date                                      Type of Filing

P16004450-2                                        08/19/2016                                     Original Financing Statement




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